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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )           CASE NO. 8:02CR194
                                           )
                  Plaintiff,               )
                                           )
           v.                              )                JUDGMENT
                                           )
ARTURO CARDENAS GUTIERREZ,                 )
                                           )
                  Defendant.               )


     In accordance with the Memorandum and Order entered on this date:

IT IS ORDERED:

     1.    That defendant’s “Motion to Vacate, Set Aside, or Correct Sentence by a
           Federal Prisoner Under 28 U.S.C. § 2255 (§ 2255)” (Filing No. 117) is
           denied;

     2.    That defendant’s Motion to Appoint Counsel (Filing No. 117) is denied as
           moot;

     3.    That defendant’s Motion for Discovery (Filing No. 117) is denied as moot;

     4.    The Clerk shall mail a copy of this Judgment to the Defendant at his
           last-known address.

     DATED this 10th day of April, 2006.

                                               BY THE COURT:

                                               s/Laurie Smith Camp
                                               United States District Judge
